Case 2:05-cr-20318-.]TF Document 7 Filed 08/29/05 Page 1 of 2 Page|D 10

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UNITED STATES DISTRICT COURT ~ ~ ~~-~~»
WESTERN DISTRICT OF TENNESSEE _
Western Division 95 AUG 29 AH 9' 13

 
   
 

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UNITED STATES OF AMERICA Wf?] tit -.-.! l.-ita‘.lprll$
-vs- Case No. 2:05cr20318-D

MAURICE NASH

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
WEDNESDAY, AUGUST 31, 2005 at 2:45 P.M. before United States Magistrate Judge S.
Thomas Anderson in Courtroom M-3, 9th Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the

United States Marshal and produced for the hearing.

Date: August 26, 2005

 

TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

 

lIf` not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142({)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142({') are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,

injure, or intimidate a prospective witness or juror.
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-203 l 8 Was distributed by faX, mail, or direct printing on
Septernber 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

